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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

June Hall, on behalf of herself and all
others similarly situated,
                                            CASE NO.: 1:22-cv-03795-MHC
       Plaintiff,

v.

Xanadu Marketing, Inc. d/b/a
Houses Into Homes,

       Defendant.


       JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE

      Plaintiff June Hall and Defendant Xanadu Marketing, Inc. hereby jointly

stipulate and agree that all matters herein between Plaintiff and Defendant have been

compromised and released. Plaintiff agrees to dismiss all claims alleged herein

against Defendant, and Defendant agrees to dismiss all counterclaims alleged herein

against Plaintiff, with each party to bear its own costs and attorneys’ fees. Both

parties withdraw any pending motions and responses accordingly and request that

the Court dismiss this case with prejudice and close the case.



                          [Signatures on Following Page]
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     Respectfully submitted this 6th day of September, 2023.

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                     CERTIFICATE OF COMPLIANCE

      Pursuant to NDGa, LR 7.1, this is to certify that the foregoing pleading

complies with local requirements set forth by NDGa, LR 5.1.


                                      /s/ Ryan D. Watstein
                                      Ryan D. Watstein

                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on September 6, 2023, I caused to be electronically

filed a true and correct copy of the foregoing with the Clerk of Court by using the

CM/ECF system, which will send a notice of filing to all counsel of record.


                                      /s/ Ryan D. Watstein
                                      Ryan D. Watstein




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